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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


  UNITED STATES OF AMERICA

  v.                                               CASE NO. 8:89-Cr-4-T-17TGW

  ROBERT EARL LEE


                               ORDER TO REDUCE TERM
                          OF IMPRISONMENT TO TIME SERVED

         BEFORE THE COURT is a motion filed by the United States of America and the

  Director of the Federal Bureau of Prisons pursuant to 18 U.S.C. § 3582(c)(1)(A)(i),

  seeking a modification of the term of imprisonment of the defendant, Robert Earl Lee, to

  time served, and commencement of a ten-year term of supervised release previously

  imposed. The court finds:

         1. On March 2, 1990, Robert Earl Lee was found guilty by a jury of violating 21

  U.S.C. § 846, Conspiracy to Possess with Intent to Distribute Cocaine (one count) and

  21 U.S.C. § 841 (a) (1), Distribution of 50 Grams or More of Cocaine Base (eight

  counts).

         2. On May 3, 1990, the Honorable Elizabeth A. Kovachevich of the United States

  District Court for the Middle District of Florida sentenced Mr. Lee to life imprisonment

  with a ten-year term of supervised release.

         3. Mr. Lee, age 75, suffers from metastatic hepatic cancer with metastasis to the

  liver and infiltration of the colon. Due to the widespread nature of the cancer, he is not a

  surgical candidate and is receiving palliative care. His condition has been deemed

  terminal with a life expectancy of weeks.
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        4. Title 18 U.S.C. § 3582(c)(1)(A)(i) authorizes the court, upon motion of the

  Director of the Bureau of Prisons, to modify a term of imprisonment upon the finding that

  extraordinary and compelling reasons warrant the reduction. The Director of the Bureau

  of Prisons contends, and this Court agrees, that the Defendant's terminal medical

  condition and limited life expectancy constitute extraordinary and compelling reasons

  that warrant the requested reduction.

        IT IS THEREFORE ORDERED that the defendant's term of imprisonment is

  hereby reduced to the time he has already served.

        IT IS FURTHER ORDERED that the defendant shall be released from the

  custody of the Federal Bureau of Prisons as soon as his medical condition permits, the

  release plan is implemented, and travel arrangements can be made.

        IT IS FURTHER ORDERED that upon his release from the custody of the

  Federal Bureau of Prisons, the defendant shall begin serving the ten-year term of

  supervised release previously imposed.

        DONE AND ORDERED this _____ day of June 2014.




                                    ______________________________________
                                    HONORABLE ELIZABETH A. KOVACHEVICH
                                    United States District Court Judge




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